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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:14-cv-02887-JLK

   ALEJANDRO MENOCAL, et al.,

                  Plaintiffs,

   v.

   THE GEO GROUP, INC.,

                  Defendant.


                            AMENDED STIPULATED PROTECTIVE ORDER
                            CONCERNING CONFIDENTIAL INFORMATION
                                       (CM/ECF No. 155)



              IT IS HEREBY STIPULATED by and between the parties, through their respective

   counsel, that:

         i.         The parties have requested for use in this action certain documents that may contain

  information that the U.S. Department of Homeland Security, Immigration and Customs Enforcement

  (“ICE”), a nonparty agency of the federal Executive Branch, states that it must protect pursuant to

  law, regulation, and/or policy.

         ii.        Documents containing information covered by the Privacy Act of 1974, 5 U.S.C. §

  552a, or that contain information that is law enforcement sensitive are protected from disclosure.

  Such information has been identified by the United States (hereinafter “Government”) as sensitive

  and/or confidential. Non-public law enforcement information regarding Government policies,

  methods, techniques, procedures, guidelines and intelligence is to be treated as “law enforcement

  sensitive.” The parties acknowledge and agree, for purposes of this litigation only, and in order to

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  ensure that the parties have access to documents and other information necessary to the prosecution

  and defense of their claims, a desire to protect against any risk of circumvention of law that might

  result from disclosure of sensitive and confidential law enforcement information as described in this

  Order.

           iii.   The parties desire, where appropriate, to maintain the confidentiality of certain of

   the documents produced in this case, including to protect the privacy of individuals;

           iv.    Therefore, in order to protect against the disclosure of sensitive and confidential

   information, which includes, but is not limited to, Privacy Act-protected and law enforcement

   sensitive, investigatory, and official Government information, while at the same time, observing

   the requirements of Rule 26 of the Federal Rules of Civil Procedure, and to permit the parties to

   discover and, if otherwise admissible, make reasonable use at trial and other matters in this

   litigation information relevant to the subject matter of this case, the parties, by and through their

   respective counsel, hereby stipulate to the entry of this Protective Order and agree as follows, and

   respectfully request that the Court so order:


                                                   ORDER

           1.      This Protective Order applies to all documents, materials, and information (and

   information copied, extracted, excerpted from, as well as summaries or compilations of the

   foregoing), including without limitation, documents produced, answers to interrogatories,

   responses to requests for admission, deposition testimony, presentations or conversations by parties

   or their counsel, and other information disclosed pursuant to the disclosure or discovery duties

   created by the Federal Rules of Civil Procedure.

           2.      As used in this Protective Order, the term “document” has the meaning set forth in

   Fed.R.Civ.P. 34(a). A draft or non-identical copy is a separate document within the meaning of

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   this term.

           3.      Documents designated “Confidential” means the information shall be used solely

   for the purposes of this litigation, and shall not be used for any other purpose or suit, nor published

   to the general public in any form (other than described herein), or used for any business or

   commercial purpose.

           4.      Any party may, at any time, designate a served, disclosed, or filed document

   “Confidential” if, after review by an attorney, the attorney certifies that the designation as

   “Confidential” is based on a good faith belief that the document contains nonpublic personal,

   personally identifiable information (“PII”), personnel, employment, financial and/or tax records,

   medical, “sensitive information” as defined at 48 C.F.R. § 3052.204-71, “law enforcement

   sensitive” information (as defined supra at ii), investigatory, official Government information or

   other information implicating privacy or proprietary interests of the Plaintiffs, the Defendant, ICE

   or another nonparty (including any documents and information that are subject to the Privacy Act

   of 1974, 5 U.S.C. § 552a). This Protective Order is an order of the Court pursuant to 5 U.S.C. §

   552a(b)(11) that allows for the disclosure of documents or information whose disclosure would

   otherwise be prohibited by the Privacy Act of 1974. Such information shall be marked

   confidential. The documents so designated will be deemed “Confidential Material” subject to this

   Protective Order. Any Confidential designation that is inadvertently omitted following the entry

   of this Protective Order will not constitute a waiver of confidentiality, and may be corrected by

   written notification to the parties.

           5.      Any party may, at any time, designate a served, disclosed, or filed document

   “Highly Confidential – Attorneys’ Eyes Only” if, after review by an attorney, the attorney certifies

   that the designation as “Highly Confidential – Attorneys’ Eyes Only” is based on a good faith

   belief that the document contains:
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           (a)     Highly sensitive information, the disclosure of which could result in compromise

                   of the safety or security of GEO facilities and/or harm or retaliation to individuals;

                   or

           (b)     Other highly sensitive information requiring such protection.

   The documents so designated will be deemed “Highly Confidential Material” subject to this

   Protective Order. Any Highly Confidential designation that is inadvertently omitted following the

   entry of this Protective Order will not constitute a waiver of confidentiality, and may be corrected

   by written notification to the parties.

          6.       No copies of “Confidential” or “Highly Confidential” Material shall be made except

   to the extent necessary for the litigation of this action and the parties preparation of this action for

   trial (including any appeals).

          7.       “Confidential” information shall be handled as follows:

                   (a)     Information designated as “Confidential” shall not be disclosed to the public

                   in any form by the receiving party or its respective counsel, nor disclosed to any

                   other person or entity without Order of the Court.

                   (b)     Information designated as “Confidential” may be disclosed by the receiving

                   party or its respective counsel only to the following persons: (1) the parties to the

                   action whose counsel have executed this Protective Order on their behalf, including

                   any officers, managers, directors, or in-house counsel of such parties, or any

                   designated representatives who are authorized to act on the parties’ behalf,

                   including insurers, or who may be reasonably necessary to aid counsel in this

                   action; (2) counsel of record for the parties and such counsel’s regular and

                   temporary employees, including, but not limited to, legal assistants, paralegals and

                   clerical or other support staff if the disclosure is reasonably and in good faith
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               calculated to aid in the preparation or prosecution of this specific legal action and

               no other; (3) the Court and its personnel; (4) court reporters who record depositions

               or other testimony in this case; (5) experts or independent consultants (and their

               staff) retained by attorneys for the receiving party to whom disclosure is reasonably

               necessary for this Action; (6) deponents, witnesses, or potential witnesses at any

               deposition in this action; (7) consultants not in the regular employ of the parties that

               are needed to assist counsel of record in the litigation or trial of this action; (8)

               witnesses expected to testify at trial; (9) the author or recipient of a document

               containing the information or a custodian or other person who otherwise

               possessed or knew the information; and (10) any other person to whom the party

               who originally designated the material as confidential agrees in writing.

         8.    “Highly Confidential” information shall be handled as follows:

         (a)   Information designated as “Highly Confidential – Attorneys’ Eyes Only” shall not

               be disclosed by the receiving party’s outside counsel of record to the public or

               the receiving party, nor disclosed to any other person or entity without Order of

               the Court.

         (b)   Unless otherwise ordered by the Court or permitted in writing by the designating

               party, the receiving party’s outside counsel of record may disclose any information

               or item designated “HIGHLY CONFIDENTIAL – ATTORNEY EYES’ ONLY”

               only to: (1) the receiving party’s outside counsel of record’s employees and any

               legal, investigative, technical, administrative, and other support staff of said outside

               counsel of record to whom it is reasonably necessary to disclose the information for

               this Action; (2) experts or independent consultants (and their staff) retained by

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                 attorneys for the receiving party to whom disclosure is reasonably necessary for

                 this Action; (3) the court and its personnel; and (4) court reporters and their staff.

          (c)    Unless otherwise ordered by the Court or permitted in writing by the designating

                 party, the receiving party’s outside counsel of record may discuss or show any

                 information or item designated “HIGHLY CONFIDENTIAL – ATTORNEY

                 EYES’ ONLY” to the specific detainee to whom the document pertains, only if

                 such disclosure is necessary for the purposes of this litigation, or if the specific

                 detainee authored, originated, received, or otherwise possesses the information.

                 Such discussion or showing of the relevant document(s) shall not include providing

                 the detainee with copies.

          (d)    Pages of transcribed deposition testimony or exhibits to depositions that reveal

                 Highly Confidential Material and are designated as such pursuant to paragraph 13

                 of this Order may be separately bound by the court reporter and may not be

                 disclosed to anyone except as permitted under this Stipulated Protective Order.

          9.     For any disclosures under Paragraph 7(b)(4-10) and Paragraph 8(b)(2 & 4), the

   person to whom the Confidential Material or Highly Confidential Material is being disclosed must

   first, before viewing the information, review a copy of this Protective Order and counsel shall

   obtain agreement, in writing, from such person that he or she will be bound by its provisions, as

   follows:

                 I,        , declare that I have read and understand the terms of this Amended

                 Stipulated Protective Order Concerning Production of Confidential Information

                 ( “ Order”) issued by the United States District Court for the District of Colorado

                 (“ Court”) on November          , 2018 in the case of Menocal et al. v. The GEO


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                      Group, Inc. I understand that this Order remains in effect during and after

                      conclusion of this litigation, and I agree to be bound by it. I understand that I may

                      be subject to penalties for contempt of Court if I violate this Order.

                      Printed Name:
                      Signature:
                      Dated:

           10.        This Protective Order does not prohibit or restrain the disclosure of information

   between the parties for the performance of the tasks necessary to conduct discovery or prepare for

   trial. Rather, this Protective Order is designed to prevent the unwarranted disclosure of

   Confidential and Highly Confidential Material to nonparties, the general public or use outside of

   this litigation.

           11.        No documents containing Confidential or Highly Confidential Material may be

   reproduced except as necessary in the litigation of this action. Any copy of a document containing

   or   summarizing        Confidential    or   Highly       Confidential   Material   must    be   stamped

   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” The

   inadvertent, unintentional, or in camera disclosure of Confidential or Highly Confidential Material

   will not, under any circumstances, be deemed a waiver, in whole or in part, of any claims of

   confidentiality.

           12.        Counsel must advise, instruct, and supervise their associates, staff, and employees

   to preserve the confidentiality of Confidential and Highly Confidential Material. Counsel must

   also advise their clients about the requirements of this Protective Order.

           13.        Documents are designated as Confidential or Highly Confidential Material by

   placing or affixing on them (in a manner that will not interfere with their legibility) the following

   or other appropriate notice: “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEY


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   EYES’ ONLY” to each page that contains confidential material. With respect to documents

   containing Confidential or Highly Confidential Material produced in Native Format, the

   designating party shall include the appropriate confidentiality designation in the filename. With

   respect to all documents produced that contain Confidential or Highly Confidential Material, the

   designating party will also include in the Load File the appropriate confidentially designation. If

   only a portion or portions of the information or item warrant protection, the producing party, to the

   extent practicable, shall identify the protected portion(s).

          14.     Whenever deposition testimony involves the disclosure of Confidential or Highly

   Confidential Material, the testimony should be identified on the record as Confidential or

   Highly Confidential wherever possible. A party may later designate portions of depositions as

   Confidential or Highly Confidential after transcription, provided written notice of the designation

   is promptly given to all counsel of record within thirty (30) days after the court reporter has notified

   counsel that the deposition transcript has been completed. Those portions of the original transcripts

   that contain Confidential or Highly Confidential Material shall bear the legend “CONFIDENTIAL

   – SUBJECT TO PROTECTIVE ORDER,” or “HIGHLY CONFIDENTIAL – ATTORNEY

   EYES’ ONLY – SUBJECT TO PROTECTIVE ORDER” at the beginning of the text which has

   been designated Confidential or Highly Confidential and the cover page of the transcripts that

   contain Confidential Material shall bear the legend “CONTAINS CONFIDENTIAL PORTIONS.”

          15.     A party may object to the designation of a document as Confidential or Highly

   Confidential Material by giving written notice to the designating party. The written notice must

   identify the information to which objection is made. If the parties cannot resolve the objection

   within ten (10) business days after notice is received, the designating party may file an appropriate

   motion seeking a ruling from the Court whether the disputed information should be deemed

   Confidential or Highly Confidential Material. The disputed information must be treated as
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   Confidential Material or Highly Confidential until the Court rules on the motion, a motion on

   which the designating party will bear the burden of establishing good cause to treat the information

   as Confidential or Highly Confidential. If the designating party fails to timely file such a motion,

   the disputed information will lose its designation as Confidential or Highly Confidential Material.

           16.    The obligation to preserve the confidentiality of Confidential or Highly

   Confidential Material survives the termination of this action. The Court will retain continuing

   jurisdiction to enforce the terms of this Protective Order.

           17.    Should the parties desire to submit to the Court any Confidential or Highly

   Confidential Material (whether in a discovery dispute, on the merits, or otherwise), the filing

   party must promptly advise the designating party and ICE (if the parties reasonably believe

   that the documents contain ICE information or are ICE documents and ICE would be of the

   position that the documents should be filed under seal) of the intended filing and whether the

   designating party or ICE will waive the designation. Any party who wishes to advise ICE of

   such intended submission shall contact the DOJ Liaison (presently Assistant U.S. Attorney

   Timothy Jafek), in writing, regarding the proposed submission. The designating party will

   advise the requesting party whether it will waive the designation within two (2) business days

   of the requesting party’s request, or within such other time as agreed to by the parties. If the

   designating party will not waive the designation, and the filing party still wishing to use the

   Confidential or Highly Confidential Material in a court filing, the filing party must file the

   material as restricted, and the designating party, ICE or any other interested party may file a

   motion to restrict, in accordance with D.C.COLO.LCivR 7.2 or any other rules promulgated by

   the United States District Court for the District of Colorado in effect at the time the documents

   are filed.

           18.    This Protective Order supersedes the prior Protective Order (Dkt. 45).          The
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   provisions of this Protective Order shall apply to any Confidential Material so designated under

   the prior Protective Order (Dkt. 45) or Highly Confidential Material so designated by any party to

   this Protective Order before entry of this Protective Order.

          19.     If a party desires to use another party’s Confidential or Highly Confidential

   Material at trial or at any hearing in open court, the submitting party shall meet and confer with

   the designating party, and (if the parties reasonably believe that the documents contain ICE

   information or are ICE documents and ICE would be of the position that the documents

   should be filed under seal), the submitting party shall follow the procedures outlined in

   paragraph 17 of this Order with respect to advising ICE. If the producing party or ICE declines to

   waive the designation, the producing party or ICE or any other interested party shall move for an

   order that such evidence be received in camera or under other less public circumstances to prevent

   unnecessary disclosure.

          20.     If any nonparty shall be called upon, by subpoena or otherwise, to provide or

   produce documents or information considered confidential by such nonparty, such nonparty will

   be provided with a copy of this agreement and may invoke its terms with respect to any

   Confidential or Highly Confidential Material provided to the parties. If any Confidential or Highly

   Confidential Material is produced by a party other than a party to this agreement, such party shall

   be considered a designating party and all parties to this order should be treated as receiving parties.

   Nothing herein shall be construed to restrict the ability of a nonparty from objecting to disclosure

   of information within its possession, custody, and control pursuant to any applicable federal or

   state law or regulation or on a basis of privilege. Nothing contained herein prohibits a party from

   negotiating a separate protective order with any nonparty, provided that all parties to this litigation

   are included in the negotiation of such agreement and ultimately agree to the terms of such

   agreement, and the Party to this litigation seeking the separate protective order moves the Court
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   for such order. Furthermore, nothing contained herein prohibits a nonparty from seeking a separate

   protective order or other relief from the Court.

          21.     Nothing contained herein shall be construed to restrict disclosure and use by the

   receiving party of any documents, information, or things that become publicly available through

   no fault or wrongdoing of any receiving party even if those documents, information, or things are

   also designated Confidential or Highly Confidential Material; however the specific documents,

   information, or things designated Confidential or Highly Confidential shall continue to be treated

   as such under the provisions of this Protective Order unless otherwise agreed to by the parties and,

   if applicable, the Government.

          22.     Unless prohibited by law, upon termination of this litigation, within sixty (60)

   calendar days after the termination of this action, including all appeals, each receiving party shall

   return the originals and all copies, extracts, and summaries of Confidential and Highly Confidential

   Material to the designating party, or shall certify to the designating party that they have deleted or

   destroyed the same in a manner that is agreeable to the designating party. Notwithstanding this

   provision, counsel are entitled to retain one (1) archival copy of all documents filed with the court,

   trial, deposition, and hearing transcripts, correspondence, deposition and trial exhibits, expert

   reports, attorney work product, and consultant and expert work product, even if such materials

   contain Confidential or Highly Confidential Material. Counsel also shall not be required to delete

   information that may reside on their respective parties’ firms’ or vendors’ electronic disaster

   recovery systems that are overwritten in the normal course of business, or information that may

   reside in electronic files which are not reasonably accessible. Should counsel know or have reason

   to know that Confidential or Highly Confidential Material is to be restored from parties’ firms’ or

   vendors’ electronic disaster recovery systems or other locations not reasonably accessible, counsel

   will make reasonable efforts to destroy these materials in good faith.
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          23.     If a party is served with a subpoena, service of process, or a court order issued in

   other litigation that compels disclosure of any information or items designated in this action as

   “Confidential” or “Highly Confidential,” that party must:

                          (a)   Promptly notify the designating party in writing and include a copy of

                  the subpoena or court order;

                          (b)   Promptly notify in writing the party who caused the subpoena or order

                  to issue in the other litigation that some or all of the material covered by the subpoena

                  or order is subject to this agreement. Such notification shall include a copy of this

                  agreement;

                          (c)   Cooperate with respect to all reasonable procedures sought to be

                  pursued by the designating party whose Confidential or Highly Confidential Material

                  may be affected.

         Once notified, the designating party (or nonparty) seeking to maintain the confidentiality of

  any information shall have the sole responsibility for obtaining any order it believes necessary to

  prevent disclosure of the information that has been subpoenaed, requested, or ordered. The

  subpoenaed party will not produce any of the Confidential or Highly Confidential Material while a

  motion for a protective order brought by the designating party pursuant to this paragraph is pending,

  or while an appeal from or request for appellate review of such motion is pending, unless a court

  orders production of materials that are subject to this agreement, then production of such materials

  pursuant to that Court Order shall not be deemed a violation of this agreement.

          24.     Neither the agreement of the parties with respect to Confidential or Highly

   Confidential Material, nor the designation of any information, document, or the like, as Confidential

   or Highly Confidential Material, nor the failure to make such designation shall be construed as:

                          (a)   Evidence with respect to any issue on the merits in this action;
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                         (b)    Waiving or restraining a party or nonparty from using or disclosing its

                  own Confidential or Highly Confidential Material as it deems appropriate;

                         (c)    Waiving a party’s right to object to any disclosure of Confidential or

                  Highly Confidential Material or production of any documents it deems to contain

                  Confidential or Highly Confidential on any ground other than confidentiality that it

                  may deem appropriate;

                         (d)    Waiving a party’s right to redact from any documents, whether

                  designated “Confidential” or “Highly Confidential” or not, any information

                  containing privileged material or any other data protected from disclosure by state

                  or federal law;

                         (e)    Conceding that review of documents is unnecessary or that a producing

                  party need not cull non-responsive, irrelevant, or other documents before producing

                  to the relevant party.

          25.     This Protective Order may be modified by the Court at any time for good cause

   shown following notice to all parties and an opportunity for them to be heard.

          26.     The parties agree that all documents produced subject to this Protective Order and

   any prior protective order entered in this case shall be protected in accordance with the data

   security requirements of Section 11 of the ESI Protocol (Dkt. 109). The parties shall follow the

   data security mandates of Section 11 of the ESI Protocol (Dkt. 109) for any documents that do not

   qualify as ESI, and shall safeguard those materials accordingly.

          27.     Nothing in this Protective Order will prevent any party or nonparty from seeking

   modification of this order or from objecting to discovery that the party or nonparty believes to be

   improper. Nothing in this Protective Order will prejudice the right of any party or nonparty to

   contest the alleged relevancy, admissibility, or discoverability of confidential documents or
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   information sought.

           DATED this 20th day of November 2018.

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   Class Counsel


   By:




  SO ORDERED:


                                                   Date: November 26, 2018
  The Honorable John L. Kane
  Senior U.S. District Court Judge




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